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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

 STUDENTS FOR JUSTICE IN PALESTINE
 AT THE UNIVERSITY OF FLORIDA,

       Plaintiff,

 v.                                                   Case No.
                                                      1:23-cv-275-MW-MJF
 RAYMOND RODRIGUES, et al.,

       Defendants.


PLAINTIFF’S UNOPPOSED MOTION TO SUPPLEMENT THE RECORD

      Plaintiff Students for Justice in Palestine at the University of Florida files

this motion to supplement the evidentiary record in support of Plaintiff’s Motion

for Preliminary Injunction to include the attached newspaper article or, in the

alternative, to take judicial notice of the attached article. On January 22nd,

Plaintiff’s counsel sought Defendants’ position on this motion, and Defendants

have responded that they take no position. In support of this motion, Plaintiff states

as follows:

      1.      On January 19, 2024, the Tampa Bay Times ran an article concerning

this lawsuit. Divya Kumar, Did DeSantis push to disband pro-Palestinian student




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group? Two answers, Tampa Bay Times (Jan. 19, 2024).1 A true and correct copy

of the article is attached to this motion.

      2.     After describing the discrepancy between Governor DeSantis’s

representations in this Court and his public statements taking credit for the

Deactivation Order, the article states:

             The governor’s office did not respond to requests for comment
             regarding the differing stances. But asked to comment generally on
             DeSantis’ effort to be dismissed as a defendant, the office responded
             with a statement that doubled down on his campaign message — a
             version of events at odds with what his lawyers are contending.

             “Groups that claim to be part of a foreign terrorist movement have no
             place on our university campuses,” the statement said. “The governor
             was right to disband a group that provides material support to a
             terrorist organization.”

      3.     This statement supports Plaintiff’s request for a preliminary injunction

in several ways, including by showing that: Plaintiff continues to face a credible

threat of deactivation on the unconstitutional grounds identified in the Deactivation

Order; Governor DeSantis continues to issue statements regarding the Deactivation

Order that objectively chill Plaintiff’s organizing, speech, and association; and

Governor DeSantis is at least partly responsible for the Deactivation Order and the

ongoing irreparable harm to Plaintiff’s First Amendment rights.




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 https://www.tampabay.com/news/education/2024/01/19/did-desantis-push-
disband-pro-palestinian-student-group-two-answers/
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      4.     The article was published on January 19, 2024, after the January 15

deadline for Plaintiff’s prior briefing.

      5.     If the Court declines to supplement the record at this juncture,

Plaintiff respectfully requests that the Court take judicial notice of the attached

article. See Fed. R. Evid. 201 (stating that a “court may judicially notice a fact that

is not subject to reasonable dispute because it: (1) is generally known within the

trial court’s territorial jurisdiction; or (2) can be accurately and readily determined

from sources whose accuracy cannot reasonably be questioned,” and noting that a

court “must take judicial notice if a party requests it and the court is supplied with

the necessary information”).

      For the foregoing reasons, Plaintiff respectfully requests that the Court

supplement the record to include the attached newspaper article or, in the

alternative, take judicial notice of the attached article.




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Dated: January 24, 2024                   Respectfully submitted,

/s/ Daniel B. Tilley
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